       Case 1:21-cr-00128-RC          Document 272         Filed 05/13/24      Page 1 of 19




                  UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                               Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .


    MOTION TO COMPEL DISCOVERY ON THE
    MAN WHO PUSHED ME INTO THE CAPITOL

       Under Brady v. Maryland, 373 U.S. 83 (1963), Federal Rule of Criminal Procedure No.

16, and D.C. Local Rule LDCR 5.1, the government is required to produce information that is

exculpatory. There is nothing more favorable to my defense than the fact that a man (who is

hashtagged #FrodoTheFash) pushed me into the Capitol. Over the past two years, I have

repeatedly requested information about this man, but the government has provided nothing, even

though the government has clear face shots and powerful facial recognition software and other

sophisticated means to identify him. This man is a crucial witness, and since the government

continues to withhold information, I cannot rule out the possibility that he was a government

agent, contractor, or informant. This is a fair possibility to explore since, as I pointed out in ECF

No. 252, there were numerous government agencies at the Capitol on January 6, and there were

even FBI informants like who were punching police. Therefore, since this man’s actions are

intertwined with my defense, I move the Court to compel the government to produce all

information they have on the individual who pushed me into the Capitol on January 6.3
       Case 1:21-cr-00128-RC            Document 272      Filed 05/13/24      Page 2 of 19




Record of Requests for Information

   •   On August 12, 2022, I emailed AUSA Crawford requesting all information on the man

       hashtagged as #FrodoTheFash. In that email I provided the government three pictures

       with clear face shots of #FrodoTheFash.

   •   On August 25, 2022, AUSA Crawford emailed me saying, “I have conferred with

       colleagues and the FBI and to my knowledge the individual pictured below has not yet

       been identified.” I responded the same day reminding Jason that this individual was

       highly relevant to my case, and that he should pass along any information as he got it.

   •   In a January 25, 2023, email to AUSA Moran, I inquired whether she had any updates on

       my request for the identity and information pertaining to #FrodoTheFash. I pointed out

       that the government has several clear facial shots of this individual and that the

       government had powerful facial recognition software that was likely capable of matching

       him to other media. I also pointed out that it seemed #FrodoTheFash may have had a

       military background, and that the government may be able to match his face to the

       government’s database of employee ID photos. On January 27, 2023, AUSA Moran

       responded that she was looking into my request and would let me know what she learned.

   •   On March 16, 2023, I followed up with AUSA Moran on my request for information. She

       did not respond to that email.

   •   On June 5, 2023, I again followed up with AUSA Moran on my request for information.

       On June 7, 2023, AUSA Moran responded to arrange a call to discuss discovery.

   •   On June 9, 2023, I had a call with AUSA Moran in which my standby counsel

       participated. I requested all information on the man who pushed me into the Capitol, who
       Case 1:21-cr-00128-RC         Document 272         Filed 05/13/24     Page 3 of 19




       is hashtagged as #FrodoTheFash. Following that call, AUSA Moran sent an email in

       which she promised to follow up with information on #FrodoTheFash.

   •   On August 8, 2023, AUSA Moran emailed me that she did not have any updates on the

       man who pushed me into the Capitol at that time.

   •   On March 22, 2024, I filed a Notice of Discovery Request (ECF No. 226) that requested

       the government to identify the man who pushed me into the Capitol. The government did

       not respond to that discovery request letter.

   •   On April 14, 2024, I filed a motion to continue the trial, and noted that the government

       had not yet produced any discovery on #FrodoTheFash, who pushed me into the Capitol,

       disrupted my attempt to exit the Capitol, and created the chaos at the Senate Carriage

       Doors that led police to shift tactics and bump my flag into the door (ECF No. 237 at 5).

   •   On April 29, 2024, the government opposed my motion to continue, but failed to address

       my request for information on the man who pushed me into the Capitol (ECF No. 250).

   •   On May 6, 2024, I replied to the government’s opposition to a continuance, noting that

       the government still had not provided any discovery on #FrodoTheFash, and that his

       involvement was a central part of my defense needed for trial (ECF No. 256 at 4).



The Actions of #FrodoTheFash on January 6, 2021

       On January 6, #FrodoThe Fash was one of the first individuals to the west front. Early

footage shows him near one of the protestors who had a heart attack and died. When the crowd

entered the northwest inaugural scaffolding, this man was near the front, and became one of the

first to push past police. His actions were so intense that police pepper sprayed him, and he

paused briefly to wash his eyes after reached the upper west plaza. He then became one of the
       Case 1:21-cr-00128-RC          Document 272         Filed 05/13/24      Page 4 of 19




first 50 or so people to enter the Capitol, and eventually made his way to the Senate Carriage

Doors. I’ve previously described this man’s actions at these doors in ECF No. 147.

       Essentially, police made #FrodoTheFash leave the building through the Senate Carriage

Doors, then he rushed police trying to get back in. At the same time, another man fell in the

doorway. I stepped up intending to help the officer with the man who had fallen, and at the same

time, #FrodoTheFash began repeatedly lunging into me, causing my body to jolt. He continued

pushing me into the Capitol until I faceplanted a wall just inside the door. Since I had not

intended to enter, I returned to the door a few seconds later assuming police would allow us to

leave. At the same time #FrodoTheFash again pushed past me, and he was seemingly intent on

creating chaos in the doorway. The second time he pushed me it caused my hat to fall off, and I

nearly lost my flag. At that point I backed up to the door frame trying to stay out of the way of

police. At the same time, police shifted tactics from allowing people to exit, to trying to close the

door. One officer bumped me, causing my flagpole to go into the door joint. When officers

closed the door, I felt my flag jolt in my arms, and I was surprised it had been caught in the

closing door. I helped officers remove the flagpole, and then I walked down the hallway as

directed by the officers.

       Capitol Police had been successful in pushing #FrodoTheFash out the Senate Carriage

Doors, but video shows that he remained in the area outside the doors for a period of time, facing

off with a line of police in hard gear. At some point, he moved on to the east center steps, where

he joined a coordinated attack on police at the Columbus Doors that took place ~2:35 p.m. At the

same time, a group of people pushed the Columbus Doors open from inside. Video shows that

#FrodoTheFash pulled an officer from the doorway and took him inside the Capitol and then

physically blocked him from returning to the doors. He eventually moved to the House wing and
         Case 1:21-cr-00128-RC                   Document 272              Filed 05/13/24   Page 5 of 19




attempted to push his way into the House Chamber. Later, #FrodoTheFash attempted to push

through a police line in the rotunda. Eventually he was forced out the Columbus Doors, but he

moved back to the west side of the Capitol where he is on video joining a heave-ho, pushing

against police in the tunnel. When police finally forced him out of the tunnel, it appears that

#FrodoTheFash was directly on top of Roseann Boyland, who was crushed to death.



Photographs of #FrodoTheFash




Figure 1: #FrodoTheFash was among the first at the west front of the Capitol.




Figure 2: In the early minutes, #FrodoTheFash witnessed one of the first deaths.
         Case 1:21-cr-00128-RC                   Document 272              Filed 05/13/24           Page 6 of 19




Figure 3: #FrodoTheFash was one of the most aggressive individuals in the scaffolding.




Figure 4: #FrodoTheFash was at the front of the crowd when the police line halfway up the steps eventually failed.
         Case 1:21-cr-00128-RC                   Document 272               Filed 05/13/24            Page 7 of 19




Figure 5: #FrodoTheFash was also at the front of the crowd that faced off with police at the top of the steps.




Figure 6: When the last police line retreated, #FrodoTheFash was one of the first through. He paused briefly to grab a water.
         Case 1:21-cr-00128-RC                  Document 272              Filed 05/13/24            Page 8 of 19




Figure 7: After entering the Senate Wing Doors, #FrodoTheFash slammed wayside panels to the floor. Others confronted him.




Figure 8: Police funneled #FrodoTheFash to the Senate Carriage Doors where he reluctantly exited.
         Case 1:21-cr-00128-RC                    Document 272              Filed 05/13/24            Page 9 of 19




Figure 9: Immediately after exiting, he attempted to force his way back in. A man fell, and I stepped up intending to help police.




Figure 10: CCTV shows #FrodoTheFash repeatedly lunging into me, pushing into the Capitol.
        Case 1:21-cr-00128-RC                   Document 272              Filed 05/13/24           Page 10 of 19




Figure 11: Exterior CCTV shows me looking back trying to figure out who is pushing me into the door.




Figure 12: This CCTV also shows him pushing me. My flag is in the lower left corner.
        Case 1:21-cr-00128-RC                   Document 272               Filed 05/13/24           Page 11 of 19




Figure 13: After I returned to the door to exit, #FrodoTheFash pushed past me again, causing my hat to fall off.




Figure 14: After police again pushed him out and closed the door, #FrodoTheFash faced off with a line of police in hard gear.
        Case 1:21-cr-00128-RC                 Document 272              Filed 05/13/24   Page 12 of 19




Figure 15: At the Columbus Doors, #FrodoTheFash joined a coordinated attack on police.
        Case 1:21-cr-00128-RC                 Document 272              Filed 05/13/24    Page 13 of 19




Figure 16: #FrodoTheFash physically pushed and pulled police out of the Columbus Doors.
        Case 1:21-cr-00128-RC                    Document 272              Filed 05/13/24            Page 14 of 19




Figure 17: After pulling this officer inside the Capitol, #FrodoTheFash corralled him to prevent him from returning to the door.




Figure 18: Footage shows #FrodoTheFash roaming the halls of the Capitol asking where lawmakers went.
        Case 1:21-cr-00128-RC                 Document 272            Filed 05/13/24          Page 15 of 19




Figure 19: Video also shows #FrodoTheFash attempting to push his way into the House Chamber as police have guns drawn.




Figure 20: #FrodoTheFash in the Hall outside the House Chamber.
        Case 1:21-cr-00128-RC                   Document 272              Filed 05/13/24   Page 16 of 19




Figure 21: Another photo of #FrodoTheFash near the House Chamber.




Figure 22: #FrodoTheFash facing off with police in the Capitol Rotunda.
        Case 1:21-cr-00128-RC                  Document 272              Filed 05/13/24           Page 17 of 19




Figure 23: After being forced out the Columbus Doors, #FrodoTheFash went to the tunnel area on the west side of the Capitol.




Figure 24: #FrodoTheFash was on the front line in the tunnel when police pushed the crowd out.
        Case 1:21-cr-00128-RC                  Document 272             Filed 05/13/24           Page 18 of 19




Figure 25: Video shows him suffering from spray and the crushing weight of bodies. At the bottom is a dead Roseann Boyland.




The Government Has Not Provided Discovery on the Man Who Pushed Me into the Capitol

         Everywhere he went, #FrodoTheFash was pushing. He was the serial pusher of January 6,

yet despite engaging in more violence against police and protestors than perhaps anyone else, the

DOJ hasn’t arrested him. My core defense is that I was literally pushed into the Capitol. To make

that defense, I need more information on the man who did it, and the government has a Brady

obligation to provide me any information possessed by any agency that has participated in the

January 6 investigations.

         I therefore move the Honorable Court to compel the government to provide all

information they have on the man who pushed me into the Capitol.
 Case 1:21-cr-00128-RC           Document 272        Filed 05/13/24      Page 19 of 19




  Respectfully submitted to the Court,

                                                 By: William Pope

                                                     /s/


                                                 William Pope
                                                 Pro Se Officer of the Court
                                                 Topeka, Kansas




                                    Certificate of Service
I certify a copy of this was filed electronically for all parties of record on May 13, 2024.
                                              /s/
                              William Alexander Pope, Pro Se
